     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 1 of 14




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8                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
9
10     AMA MULTIMEDIA, LLC, a Nevada               Case No.: 2:15-cv-01673-JCM-GWF
       limited liability company,
11                                                 MOTION TO
                    Plaintiff,                     COMPEL ARBITRATION
12
13     v.

14     BORJAN SOLUTIONS, S.L. d/b/a
15     SERVIPORNO, a Spanish company;
       and BORJAN MERA URRESTARAZU,
16     an individual,
17                  Defendants.
18
19          Plaintiff AMA Multimedia hereby moves this Court to compel Defendants
20    Borjan Solutions, S.L. d/b/a Serviporno (“Serviporno”) and Borjan Mera
21    Urrestarazu (“Borjan”) to arbitrate the claims of the instant litigation pursuant to
22    the Federal Arbitration Act, 9 U.S.C. § 4, and the Convention on the Recognition
23    and Enforcement of Foreign Arbitral Awards, Article II(3), per 9 U.S.C. § 206.
24    Plaintiff further requests that this Court appoint ADR Services, Inc., as the
25    arbitration service, pursuant to 9 U.S.C. §§ 5 and 206, and that this matter be
26    stayed until such arbitration has been had, pursuant to 9 U.S.C. § 3.       Plaintiff
27
                                               -1-
                                   Motion to Compel Arbitration
                                    2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 2 of 14




1     AMA filed this case only after Defendants unreasonably frustrated all of Plaintiff’s
2     attempts to arbitrate this matter. However, based upon Defendants’ Motion to
3     Dismiss and for an Award of Contractual Costs and Fees (Doc. No. 7), all parties
4     apparently now agree that this dispute should be arbitrated pursuant to their
5     existing Settlement Agreement.
6            This was Plaintiff’s position from the start, but the Defendant and his
7     counsel refused to cooperate or participate in Arbitration.
8             In support hereof, Plaintiff refers this Honorable Court to the below
9     memorandum of points and authorities.
10                        MEMORANDUM OF POINTS AND AUTHORITIES
11           As set forth in the Amended Complaint (Doc. No. 9), Plaintiff AMA
12    Multimedia, LLC, and Defendants Borjan Solutions, S.L. d/b/a Serviporno and
13    Borjan Mera Urrestarazu entered into an agreement on or about August 19,
14    2013, to resolve a then-pending dispute between them. Defendants admit that
15    “(1) the parties voluntarily entered into a settlement agreement, (2) the
16    settlement agreement contains a binding arbitration clause, and (3) the binding
17    arbitration clause covers all of the claims raised in the Plaintiff’s complaint.”
18    Doc. No. 7, at 2. 1 Thus, the arbitration agreement should be enforced and
19    Defendants should be compelled to arbitrate.
20    1.0    Factual Background
21           As alleged in the Amended Complaint, Plaintiff produces and distributes
22    adult-oriented films. Doc. No. 9, ¶ 1. Defendants own and operate a series of
23    websites.    Id. at ¶¶ 2, 3, 56, 59, & 60.      Plaintiff has alleged that Defendants
24    distributed Plaintiff’s copyrighted works without permission. Id. at ¶¶ 27, 65, & 66.
25
26    1 Although  Defendants’ admission was directed to the claims in the original Complaint (Doc.
      No. 1), the Amended Complaint contains the same claims, adding only an additional count to
27    compel arbitration, along with the relevant predicate facts.
                                                  -2-
                                      Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 3 of 14




1     Seven claims arising from and related to Defendants’ infringement are the
2     subject of the instant lawsuit. (See generally id.)
3           Previously, Plaintiff’s predecessor-in-interest, SSC Group, LLC, demanded
4     that Defendants cease their copyright infringement on Defendants’ Serviporno
5     website and threatened to file claims against Defendants for that infringement.
6     (See id. at ¶¶ 13, 21, & 22.) However, the parties entered settlement discussions
7     before a suit could be filed, and those discussions resulted in a Settlement
8     Agreement and Mutual Release (“Agreement”) that SSC Group was hopeful
9     would resolve all issues between the parties. (See id. at ¶¶ 24 & 25; see also
10    Exhibit 1.) Such Agreement inures to the benefit of Plaintiff AMA as SSC Group’s
11    successor-in-interest. (See Exhibit 1, at ¶ 11.0; see also Doc. No. 7 at 8-9 (referring
12    to Plaintiff as a “party” who “agreed” to the “express terms” of the Agreement).)
13    The Agreement contained a provision stating that future disputes would be
14    decided by informal negotiation, then formal mediation, then binding
15    arbitration. (See Exhibit 1, at ¶ 20.1.)
16          For approximately one year after the execution of the Agreement, it
17    appeared that Defendants’ infringements had ceased. However, in late 2014,
18    Plaintiff discovered that Defendants had renewed their infringing activities on
19    the Serviporno site, as well as other sites operated and controlled by
20    Defendants. (See Doc. No. 9 at ¶ 27.) On or about December 23, 2014, Plaintiff
21    sent Defendants a cease and desist letter pursuant to paragraph 3.1 of the
22    Agreement. (See id. at ¶ 35; see also Exhibit 2 at pp. 14-15.)
23          Given the success of previous negotiations with Defendants, Plaintiff AMA
24    was hopeful that the matter could be resolved informally and pursuant to the
25    provisions of the Agreement. Therefore, Plaintiff scheduled informal negotiations
26    in Las Vegas Nevada, which occurred on January 23, 2015. (See Doc. No. 9 at
27    ¶ 78.) These negotiations were unsuccessful. (See id.)
                                                 -3-
                                     Motion to Compel Arbitration
                                      2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 4 of 14




1            Subsequently, on January 26, 2015, Plaintiff applied to this Court for a
2     subpoena pursuant to the Digital Millennium Copyright Act, as permitted by
3     ¶ 3.3 of the Agreement. (See Exhibit 2 at 4-15; Exhibit 1, ¶ 3.3.) This Court issued
4     the subpoena on January 26, 2015.                     (See In re AMA Multimedia, LLC:
5     Identification of John Does 1-256 Pursuant to the DMCA, Docket No. 2:15-ms-
6     00005 (Jan. 26, 2015).) Defendants responded to the subpoena on or about
7     March 11, 2015, without formal objection to this Court.                   (See Exhibit 2 at 2.)
8     Although Defendants’ response lodged informal improper objections, 2 at no
9     time was compliance with the terms of the Agreement giving rise to the
10    subpoena challenged.            (See id.)      Nevertheless, Defendants’ response was
11    insufficient and failed to provide all information requested by the subpoena.
12    (See Doc. No. 9 at ¶¶ 49, 51, & 52.)
13           Realizing that informal settlement negotiations would be unsuccessful,
14    Plaintiff AMA scheduled formal mediation pursuant to ¶ 20.1 of the Agreement,
15    which occurred on May 21, 2015. (See Doc. No. 9 at ¶ 79.) The mediation did
16    not result in a resolution. (See id.) In fact, Defendants refused to participate in
17    good faith – failing to attend in person, and refusing to provide a mediation
18    statement to the mediator.
19           The Agreement, at ¶ 20.1, states, in relevant part:
20           If the Parties are unable to resolve the dispute through direct
             negotiations and/or formal mediation, then except as otherwise
21           provided herein, either Party must submit the issue to binding
22           arbitration in accordance with applicable Arbitration laws and
             statutes. Claims subject to arbitration (“Arbitral Claims”) shall
23           include, but are not limited to, contract, tort and intellectual
             property claims of all kinds, and all claims based on any federal,
24           state or local law, statute, or regulation, excepting only claims
25           seeking injunctions, attachment, garnishment, and other equitable
             relief. The arbitration shall be conducted in the [sic] Clark County,
26
      2 Defendants raised a question of personal jurisdiction, though the Agreement explicitly stated
27    they “agree[] not to challenge the subpoena for lack of personal jurisdiction.” Exhibit 1 at ¶ 3.3.
                                                    -4-
                                        Motion to Compel Arbitration
                                         2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 5 of 14




            Nevada, in a convenient location agreed to by the parties, or
1
            absent such agreement, selected by the Arbitrator. The arbitration
2           shall be conducted by a single arbitrator, knowledgeable in
            Internet and intellectual property disputes. The arbitrator shall be
3           willing to execute an oath of neutrality. The arbitration proceedings
4           shall be confidential.
      See Exhibit 1.
5
            Having met all predicate requirements of ¶¶ 2.1 & 20.1 of the Agreement,
6
      Plaintiff AMA attempted to initiate arbitration.        On or about June 26, 2015,
7
      Plaintiff’s counsel sent correspondence to Defendants’ counsel suggesting 3
8
      well-known and respected Nevada arbitrators – The Honorable Philip Pro, Ara
9
      Shirinian, and Joseph Bongiovi. (See Correspondence from Ronald Green to Val
10
      Gurvits, dated June 26, 2015, attached as Exhibit 3.)         Defendants summarily
11
      rejected all 3 suggestions. (See Email Correspondence dated June 27, 2015,
12
      attached as Exhibit 4.)
13
            For the first time, Defendants also suggested that AMA had not met the
14
      conditions precedent to initiate dispute proceedings in the Agreement,
15
      specifically that Plaintiff had not provided Defendants with the opportunity to
16
      remove unauthorized third party content before formally pursuing its claims.
17
      (See Exhibit 1, at ¶ 2.1.)     However, Plaintiff have copious evidence that
18
      Defendants were posting the infringing content themselves, including but not
19
      limited to:
20
                •   Defendant Borjan had previously admitted that he uploaded the
21
                    infringing content himself on a public message board (Doc. No. 9,
22
                    at ¶¶ 17-18);
23
                •   Plaintiff tested Serviporno’s third party upload tool and found that it
24
                    did not work, even though new infringing content allegedly posted
25
                    by third parties appeared on the site daily (Id., at ¶¶ 28-29);
26
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                                                -5-
                                    Motion to Compel Arbitration
                                     2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 6 of 14




1              •    Defendants obscured Serviporno’s “sign in” and “registration links,”
2                   making it difficult for Internet users to find them (Id., at ¶ 32);
3              •    Many of the videos on Serviporno exceeded the 100MB upload limit
4                   contained on the site, indicating that third party users could not
5                   have uploaded them (Id., at ¶ 33);
6              •     Defendants operate over 20 websites that largely feature the same
7                   content with unique titles depending on the site, and it strains
8                   credibility to argue that an Internet user would upload videos to
9                   multiple Defendant websites, taking the time to give each video a
10                  unique title on each website (Id., at ¶¶ 63-65).
11          Given Defendants’ roadblocks to arbitration, Plaintiff AMA opted to simply
12    file an arbitration complaint rather than continue to negotiate with Defendants
13    regarding an appropriate arbitration service.            On or about August 3, 2015,
14    Plaintiff transmitted a Demand for Arbitration and an Arbitration Complaint to
15    ADR Services and to counsel for Defendants. (See id. at ¶ 81; see also Exhibit 5,
16    Demand       for   Arbitration   and    Arbitration   Complaint;   and    see   Exhibit 6,
17    Declaration of Trey A. Rothell, at ¶ 6.)            ADR Services, Inc. is a nationally
18    recognized arbitration service.        (See, e.g., Missud v. San Francisco Superior
19    Court, 2012 U.S. Dist. LEXIS 17302, *5 (N.D. Cal. Feb. 13, 2012); Nat'l Network of
20    Accountants Inv. Advisors, Inc. v. Gray, 693 F. Supp. 2d 200, 201 (E.D.N.Y. 2010).)
21          On multiple occasions, ADR Services’ case manager informed Plaintiff’s
22    counsel that ADR Services would not take the case unless Defendants agreed to
23    participate in the arbitration or a court order required them to participate. (See
24    Exhibit 6 at ¶¶ 4 & 8-9.) The case manager stated that ADR Services was calling
25    Defendants’ counsel later that day to discuss. (See id at ¶ 7.) After hearing
26    nothing for one week, Plaintiff’s counsel spoke with ADR Services’ case manager
27    on August 18, 2015. (See id at ¶ 8.) The case manager informed counsel that he
                                                   -6-
                                       Motion to Compel Arbitration
                                        2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 7 of 14




1     had called Defendants’ counsel regarding the arbitration but that Defendants’
2     counsel had not called him back. (See id at ¶ 8-10.) The case manager stated
3     that it was his impression that Defendants’ counsel was ignoring his calls and
4     would not participate in the arbitration. (See id. at ¶ 8-10.)
5             On or about August 19, 2015, Defendants transmitted a document
6     entitled “Motion to Dismiss Arbitration for Complainant’s Failure to Meet
7     Conditions Precedent to the Filing of Arbitration and for the Award of
8     Contractual Attorneys’ Fees” to Plaintiff’s counsel and ADR Services. (See id.)
9     ADR Services informed Plaintiff’s counsel on August 25, 2015 that it could not
10    take the matter.     (See id. at ¶ 14.)    Considering that Defendants thwarted
11    Plaintiff’s attempts to arbitrate every step of the way, Plaintiff was with no choice
12    but to assert its claims against Defendants in this Court. (See Doc. No. 9 at ¶ 90.)
13    However, now Defendants appear willing to arbitrate. (See Doc. No. 7 at 6 &
14    20.) Accordingly, this Motion should be, by all logical measures, uncontroversial.
15    However, given the fact that Defendants are not interested in having this matter
16    adjudicated at all, this Court should anticipate either a change in position, or
17    some other bizarre position calculated to frustrate the advancement of the
18    case.
19    2.0     Legal Analysis
20            2.1   Defendants Should Be Compelled to Arbitrate
21            Defendants argue that the complaint should be arbitrated. Doc. No. 7 at
22    6 & 20. Plaintiff agrees. Plaintiff attempted to arbitrate this matter on numerous
23    occasions and was rebuffed by Defendants at every turn. Given Defendants’
24    apparent change of heart, this Motion should not present much controversy.
25            The Federal Arbitration Act (“FAA”) favors rigorously enforcing arbitration
26    agreements. See Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S.
27    1, 24-25, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983); Hall St. Assocs., L.L.C. v. Mattel,
                                                -7-
                                    Motion to Compel Arbitration
                                     2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 8 of 14




1     Inc., 552 U.S. 576, 582, 128 S. Ct. 1396, 170 L. Ed. 2d 254 (2008). The enforcement
2     of agreements to arbitrate “applies with special force in the field of international
3     commerce.” Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S.
4     614, 631, 105 S. Ct. 3346, 87 L. Ed. 2d 444 (1985).
5            International commercial arbitration agreements involving a United States
6     resident are governed by Chapter 2 of the FAA, which codifies the Convention
7     on the Recognition and Enforcement of Foreign Arbitral Awards (the “New York
8     Convention” or “Convention”).           9 U.S.C. § 206.        Plaintiff is a United States
9     corporation and Defendants are citizens of Spain, a signatory to the
10    Convention. See “Status[:] Convention on the Recognition and Enforcement of
11    Foreign Arbitral Awards (New York, 1958)”, United Nations Commission on
12    International Trade Law.3 Agreements governed by the New York Convention
13    are also governed by Chapter 1 of the FAA to the extent that the FAA and the
14    Convention are not in conflict.         See 9 U.S.C. § 208; see also AASI Creditor
15    Liquidating Trust v. AU Optronics Corp. (In re TFT-LCD (Flat Panel) Antitrust Litig.),
16    2013 U.S. Dist. LEXIS 102307, *62 (N.D. Cal. July 18, 2013).
17           Pursuant to Chapter 1, Section 4 of the FAA, “a party aggrieved by the
18    alleged failure, neglect, or refusal of another to arbitrate under a written
19    agreement for arbitration may petition any United States District Court . . . for an
20    order directing that . . . arbitration proceed in the manner provided for in [the
21    arbitration] agreement.” 9 U.S.C. § 4. Further, the Court must “make an order
22    directing the parties to proceed to arbitration in accordance with the terms of
23    the agreement” once it is “satisfied that the making of the agreement for
24    arbitration or the failure to comply therewith is not in issue”. Id. The Federal
25    Arbitration Act provides that contractual arbitration agreements “shall be valid,
26
      3  Available at: <http://www.uncitral.org/uncitral/en/uncitral_texts/arbitration/NYConvention
27    _status.html> (last accessed 30 December 2015).
                                                  -8-
                                      Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 9 of 14




1     irrevocable, and enforceable, save upon such grounds as exist at law or in
2     equity for the revocation of any contract.” 9 U.S.C. § 2. Arbitration agreements
3     are enforced under Sections 3 and 4 of the Act, which provide “two parallel
4     devices for enforcing an arbitration agreement.” Moses H. Cone Mem'l Hosp. v.
5     Mercury Constr. Corp., 460 U.S. 1, 22, 103 S. Ct. 927, 74 L. Ed. 2d 765 (1983).
6     Under Section 3, courts may order “a stay of litigation in any case raising a
7     dispute referable to arbitration,” while Section 4 empowers courts to enter “an
8     affirmative order to engage in arbitration.” Id.; 9 U.S.C. §§ 3-4.
9           When determining whether a party should be compelled to arbitrate
10    claims, the court uses a two-step process. Chiron Corp. v. Ortho Diagnostic Sys.,
11    Inc., 207 F.3d 1126, 1130 (9th Cir. 2000). The court must determine: (1) whether a
12    valid agreement to arbitrate exists, and (2) whether the agreement
13    encompasses the dispute at issue. (See id.) A party cannot be ordered to
14    arbitration unless there is “an express, unequivocal agreement to that effect.”
15    Samson v. NAMA Holdings, LLC, 637 F.3d 915, 923 (9th Cir. 2011) (quoting Par-Knit
16    Mills, Inc. v. Stockbridge Fabrics Co., Ltd., 636 F.2d 51, 54 (3d Cir. 1980)). If the
17    response is affirmative on both counts, then the Act requires the court to
18    enforce the arbitration agreement in accordance with its terms. Chiron Corp,
19    207 F.3d at 1130.
20          The parties do not dispute that there is a valid agreement to arbitrate.
21    (See Doc. No. 7 at 9 (Defendants admit “the validity and enforceability of the
22    Settlement Agreement and the arbitration clause are not in dispute”).) They
23    also do not dispute that the subject matter of the dispute is otherwise arbitrable.
24    (See id. at 6 (“the agreement encompasses the dispute at issue”).) Nevada
25    courts “resolve all doubts concerning the arbitrability of the subject matter of a
26    dispute in favor of arbitration. International Ass'n of Firefighters, Local #1285 v.
27
                                               -9-
                                   Motion to Compel Arbitration
                                    2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 10 of 14




1      Las Vegas, 104 Nev. 615, 764 P.2d 478, 480 (1988). Therefore, Defendants should
2      be compelled to arbitrate the instant dispute.
3             Defendants claim that they have not refused to participate, but rather
4      moved to dismiss “for the plaintiff’s failure to meet the conditions precedent to
5      arbitration”.    (See id. at pp. 8-9.) Pursuant to the rules of ADR Services, an
6      arbitration is commenced by demand, if the provider is not named in the
7      arbitration clause. (See Exhibit 7, Rule 5(a).)4 Plaintiff did so on August 3, 2015.
8      (See Exhibit 5; see also Exhibit 6 at ¶ 6.) Those rules then require a respondent to
9      file an answering statement within 15 calendar days after the demand is
10     confirmed.       (See Exhibit 7, Rule 5(a)(2).)    Rather than filing an answering
11     statement, Defendants filed a so-called motion to dismiss.            (See Exhibit 8.)
12     Defendants further stated that they “believed (and believe) that the arbitrator
13     should dismiss AMA’s claims because AMA failed to meet the contractually
14     mandated conditions precedent to arbitration.”           (See id. at p. 7.) Defendants
15     argue that Plaintiff failed to comply with ¶ 3.1, thus prohibiting any arbitration or
16     litigation. (See Doc. No. 7, pp. 9-11.) Such represents a question of arbitrability.
17     “[T]he question of arbitrability is left to the court unless the parties clearly and
18     unmistakably provide otherwise”. Momot v. Mastro, 652 F.3d 982, 988 (9th Cir.
19     2011). The Agreement does not explicitly state that the arbitrator is to decide
20     arbitrability.    Thus, by presenting ADR Services, Inc., with a question of
21     arbitrability, rather than the required answering statement, Defendants’
22     conduct constituted a refusal to arbitrate.
23            Moreover, as set forth above, this dispute does not involve content
24     uploaded by a third party. Defendants uploaded this content themselves. (See
25     Doc. No. 9, at ¶¶ 16-17, 29-30, 33-34, 64-66.)         The Agreement between the
26
       4  Available at: <http://www.adrservices.org/pdf/ADR%20ARBITRATION%20RULES%20(5)%20
27     update%207-14-10.pdf> (last accessed 6 January 2016.)
                                                 - 10 -
                                      Motion to Compel Arbitration
                                       2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 11 of 14




1      parties covered infringing material uploaded by users of the Serviporno website,
2      not by Defendants themselves. (See Exhibit 1, at ¶ 3.1.)          There is no bar
3      prohibiting arbitration.
4            Alternatively, Plaintiff’s letter of December 23, 2014, satisfied ¶ 3.1 of the
5      Agreement. To the extent it may have been deficient, Defendants waived any
6      objection when they responded to the subpoena issued pursuant to ¶ 3.3, which
7      mandated compliance with ¶ 3.1 as a condition precedent. See Udevco, Inc.
8      v. Wagner, 100 Nev. 185, 189 (1984) (“Waiver can be implied from conduct such
9      as . . . accepting performance which does not meet contract requirements”);
10     see also Baroi v. Platinum Condo. Dev., LLC, 2012 U.S. Dist. LEXIS 95723, *8 (D.
11     Nev. July 10, 2012). In responding to the subpoena, Defendants engaged in
12     “conduct so inconsistent with an intent to enforce the right as to induce a
13     reasonable belief that the right has been relinquished.” Hudson v. Horseshoe
14     Club Operating Co., 112 Nev. 446, 457 (1996). They agreed to arbitrate. (See
15     Doc. No. 7-1, p. 8 (“Ron, We agree to arbitrate . . . Val Gurvits”). They even
16     admit they “invited [Plaintiff] to initiate arbitration” though they disputed the
17     merits of the claims. Doc. No. 7 at 19. Thus, it is apparent that Defendants failed
18     to comply with the arbitration agreement and they may be compelled to
19     arbitrate under Section 4 of the FAA.
20           Similarly, under Section 206, the Court must determine whether:
21           (1) there is an agreement in writing within the meaning of the
             Convention; (2) the agreement provides for arbitration in the
22           territory of a signatory of the Convention; (3) the agreement arises
23           out of a legal relationship, whether contractual or not, which is
             considered commercial; and (4) a party to the agreement is not an
24           American citizen, or that the commercial relationship has some
             reasonable relation with one or more foreign states.
25
       Balen v. Holland America Line Inc., 583 F.3d 647, 654-55 (9th Cir. 2009) (citation
26
       omitted). “If these questions are answered in the affirmative, a court is required
27
                                              - 11 -
                                   Motion to Compel Arbitration
                                    2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 12 of 14




1      to order arbitration unless the court finds the agreement to be null and void,
2      inoperative, or incapable of being performed.” Prograph Intern. Inc. v. Barhydt,
3      928 F. Supp. 983, 988 (N.D. Cal. 1996). All four questions are answered in the
4      affirmative. First, there is an agreement in writing. (See Exhibit 1, ¶ 20.1.) The
5      agreement provides for arbitration in the United States. (See id.) It arises out of
6      a commercial relationship, specifically an agreement regarding advertising and
7      distribution of intellectual property. (See id. at ¶ 1.2.) And Defendants are not
8      American citizens.     (See Doc. No. 7 at p. 13 (“the present action is brought
9      against a Spanish company and a Spanish resident”).)                      Therefore, it is
10     enforceable under the Convention and Section 206.
11            2.2     ADR Services, Inc., Should be Appointed as the Arbitration Provider
12            Pursuant to the FAA and the Convention, this Court is empowered to
13     appoint an arbitrator where the agreement is silent. See 9 U.S.C. §§ 5 & 206; see
14     also Gar Energy & Assocs. v. Ivanhoe Energy Inc., 2011 U.S. Dist. LEXIS 148424, *29
15     (E.D. Cal. Dec. 23, 2011).      Plaintiff selected ADR Services, Inc., and none of
16     Defendants’ pleadings in this Court or the arbitration object to the use of that
17     service.      As it has a “stellar reputation” and provides “fundamentally fair
18     arbitrations”, this Court may order the parties to arbitrate through Plaintiff’s
19     chosen provider, according to its rules. Gar Energy, 2011 U.S. Dist. LEXIS 148424
20     at * 30; see also Ferrini v. Cambece, 2013 U.S. Dist. LEXIS 77976, *6-7 (E.D. Cal.
21     June 3, 2013) (ordering arbitration pursuant to § 5 through the movant’s chosen
22     provider in the absence of an explicitly agreed upon provider). ADR Services
23     has offices in Clark County, Nevada, which is within this district, and thus
24     permissible under § 206.5 See Bauhini Corp. v. China Natl. Mach. & Equip. Import
25     & Export Corp., 819 F.2d 247, 250 (9th Cir. 1987).
26
       5 Selectionof an arbitration service provider can constitute the selection of an arbitrator.
27     See Carideo v. Dell, Inc., 2009 U.S. Dist. LEXIS 104600, *16 (W.D. Wash. Oct. 26, 2009).
                                                  - 12 -
                                       Motion to Compel Arbitration
                                        2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 13 of 14




1             2.3     This Matter Should Be Stayed Pending Arbitration
2             While this matter is arbitrated, the instant proceedings should be stayed
3      pursuant to 9 U.S.C. § 3; accord Morris v. Morgan Stanley & Co., 942 F.2d 648,
4      653 (9th Cir. 1991). Although the Court may dismiss the matter once there is a
5      referral to arbitration, such is discretionary. See Sparling v. Hoffman Constr. Co.,
6      864 F.2d 635, 638 (9th Cir. 1988).6 A stay is proper, given Defendants’ failure to
7      properly arbitrate previously and their efforts to take actions to divest courts of
8      jurisdiction. Undoubtedly, Plaintiff will need to seek confirmation of the award,
9      and the retention of jurisdiction suits those purposes.
10     3.0    Conclusion
11            The parties agree this matter is arbitrable. Plaintiff has met all conditions
12     precedent for initiating the arbitration. Defendants failed to properly arbitrate
13     the matter, instead presenting a vacuous motion to dismiss in the arbitration.
14     Thus, the agreement to arbitrate should be enforced, with arbitration to
15     proceed under the auspices of ADR Services, while this matter is stayed in the
16     interim.
       Dated this 6th day of January, 2016.
17
                                                     Respectfully Submitted,
18
                                                     /s/ Marc J. Randazza
19                                                   Marc J. Randazza, Esq.
                                                     Nevada Bar No. 12265
20
                                                     Ronald D. Green, Esq.
21                                                   Nevada Bar No. 7360
                                                     RANDAZZA LEGAL GROUP, PLLC
22                                                   3625 S Town Center Dr., Ste. 150
23                                                   Las Vegas, NV 89135
                                                     Tel: (702) 420-2001
24                                                   Fax: (702) 420-2003
                                                     ecf@randazza.com
25
26     6 Plaintiff recognizes the Ninth Circuit precedent that a stay is discretionary, but otherwise refers

       this Court to the recent Second Circuit decision discussing the mandatory nature of the stay.
27     See Katz v. Cellco P'ship, 794 F.3d 341 (2d Cir. 2015).
                                                     - 13 -
                                          Motion to Compel Arbitration
                                           2:15-cv-01673-JCM-GWF
     Case 2:15-cv-01673-JCM-GWF Document 10 Filed 01/06/16 Page 14 of 14




1                                                       Case No. 2:15-cv-01673-JCM-GWF
2                                  CERTIFICATE OF SERVICE
3            I HEREBY CERTIFY that on January 6th, 2016, I electronically filed the
4      foregoing document with the Clerk of the Court using CM/ECF. I further certify
5      that a true and correct copy of the foregoing document being served via
6      transmission of Notices of Electronic Filing generated by CM/ECF.
7
                                             Respectfully Submitted,
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9
                                             Employee,
10                                           Randazza Legal Group, PLLC
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                                    2:15-cv-01673-JCM-GWF
